Case 2:15-cr-00627-JMA Document 44 Filed 12/08/16 Page 1 of 1 PageID #: 303


                                                                   FILE 0
UNITED STATES DISTRICT COURT                                    IN CLERK'S OFFICE
                                                          U.S. DISTRICT COURT E.D.N.Y.
EASTERN DISTRICT OF NEW YORK
                                                            *   DEC 0 8 2016
-----------------------------X                                                     *
UNITED STATES OF AMERICA                                    LONG ISLAND OFFICE
                                              ORDER
      -against-
                                               15-CR-0627-00l(LDW)
James Burke

-----------------------------X
WEXLER, Senior District Judge:


     IT IS HEREBY RECOMMENDED that the defendant be designated to

Federal Correctional Institute Otisville, New York for the

service of his sentence.

     The Court notes that this is a recommendation only. The

final designation of an institution to which a defendant will be

housed is made by the Federal Bureau of Prisons.


                                         SO ORDERED:
                                              ~
                                     /JL /_....-        /
                                     C/ Le'6nard D . W~l.er
                                         Seni.or U.S.D.J.

Dated: December   ~ , 2016
       CENTRAL ISLIP, NEW YORK
